
Turkey, J.
delivered the opinion of the court.
This is an action brought by the defendants in error against the plaintiffs, as the endorsers of a promissory note drawn by A. Dale &amp; Co. The suit is brought jointly against the makers and endors*163ers. The making of the note, its endorsements and dishonor, are duly set forth in the declaration, but there is no averment of a notice of the dishonor having been given to the endorsers, nor any legal excuse assigned for not having done so.
This, it is admitted, is fatal, unless the defect be cured by verdict; that it is not, has been abundantly determined. See Chitty on Bills, 465, 2 Tidd’s Practice, Phil’d. Ed. of 1828, page 950, and the case of Slocum vs. Pomeroy, 6 Crunch, 221, where the question is directly determined by the supreme court of the United States. The judgment of the circuit court, will, therefore, be reversed.
